     Case 4:10-cv-00038-RH-WCS Document 115 Filed 12/01/10 Page 1 of 1


                                                                                  Page 1 of 1


          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


NETWORK TALLAHASSEE, INC.,

             Plaintiff,

v.                                                   CASE NO. 4:10cv38-RH/WCS

EMBARQ CORPORATION et al.,

             Defendants.

___________________________________/


     ORDER ALLOWING MEMORANDUM OF EXCESSIVE LENGTH


      The defendants’ consented motion, ECF No. 112, to file a memorandum of

excessive length in opposition to the plaintiff’s class-certification motion is

GRANTED. The defendants’ memorandum, ECF No. 113, is accepted as filed.

      SO ORDERED on December 1, 2010.

                                               s/Robert L. Hinkle
                                               United States District Judge
